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15
                            UNITED STATES DISTRICT COURT
16                        NORTHERN DISTRICT OF CALIFORNIA
                                  SAN JOSE DIVISION
17

18 SKILLZ PLATFORM INC.                       Case No. 5:21-cv-02436-BLF
                Plaintiff,
19                                            The Hon. Beth Labson Freeman
          v.
20 AVIAGAMES INC.,                            PLAINTIFF SKILLZ PLATFORM
                                              INC.’S NOTICE OF EMERGENCY
21              Defendant.                    MOTION AND EMERGENCY
                                              MOTION TO REOPEN DISCOVERY
22
                                              AND FOR SANCTIONS
23
                                              Date: August 15, 2023
24                                            Time: 1:30 p.m.
                                              Courtroom: 3
25                                            Judge: Hon. Beth Labson Freeman
26

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     NOTICE OF EMERGENCY MOTION
     AND EMERGENCY MOTION TO
     REOPEN DISCOVERY AND FOR SANCTIONS                        Case No. 5:21-cv-02436-BLF
